Case 4{13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 1of16 Page ID #:66

1 || Alan E. Wisotsky — State Bar No. 68051
James N. Procter II — State Bar No. 96589
2 || Dirk DeGenna — State Bar No. 188972
WISOTSKY, PROCTER & SHYER

3 || 300 Esplanade Drive, Suite 1500

Oxnard, California 93036

41! Phone: (805) 278-0920

Facsimile: (805) 278-0289

5 || Email: ddegenna@wps-law.net

6 || Attorneys for Defendants,
CITY OF SANTA PAULA, SANTA PAULA POLICE

7 DEPARTMENT, INTERIM CHIEF ISMAEL
CORDERO, OFFICER HECTOR RAMIREZ, and
8 OFFICER CHAD PEPLINKSI
9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA

11

12}| HILDA VASQUEZ, individually, and CASE NO. CV13-07726-SH
as personal representative of the
13 || ESTATE OF EDGAR GARCIA, THE | ANSWER TO FIRST AMENDED
ESTATE OF EDGAR GARCIA, COMPLAINT; DEMAND FOR
14 TRIAL BY JURY

- Plaintiffs,

V.

CITY OF SANTA PAULA; THE

17 || SANTA PAULA POLICE
DEPARTMENT; Interim Chief,

18 || IIMAEL CORDERO; OFFICER
HECTOR RAMIREZ, individuall

19 |! and in his official capacity as a Police
Officer for the CITY OF SANTA

20 || PAULA; OFFICER CHAD
PEPLINSKI; individually and in his
21 || official capacity as a Police Officer
for the CITY OF SANTA PAULA;
22 ||and DOES | through 10, inclusive,
individually and in their official

23 || capacities as POLICE OFFICERS for
ss the CITY OF SANTA PAULA,

Defendants.

16

 

2a

 

26
27 Defendants CITY OF SANTA PAULA, SANTA PAULA POLICE DEPART-
28 || MENT, INTERIM CHIEF ISMAEL CORDERO, OFFICER HECTOR RAMIREZ,

]

 

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

ao ss NN

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 2of16 Page ID #:67

and OFFICER CHAD PEPLINKSI hereby answer plaintiffs’ first amended complaint

as follows:
1. | Answering paragraph | of the first amended complaint, defendants admit
that the case arises from the shooting death of Edgar Garcia on July 28, 2012.

Defendants deny the remaining allegations of paragraph 1.

2. Answering paragraph 2 of the first amended complaint, defendants admit
that plaintiffs are attempting to file suit under the cited statutes and that plaintiffs are
attempting to establish jurisdiction under the cited statutes.

3. | Answering paragraph 3 of the first amended complaint, defendants have
insufficient information to admit or deny the allegations, and on that basis defendants
deny each and every allegation contained therein.

4. Answering paragraph 4 of the first amended complaint, defendants admit
that the Estate of Edgar Garcia claims it has appeared by and through Hilda Vasquez.
Defendants deny the remaining allegations of this paragraph.

5. Answering paragraph 5 of the first amended complaint, defendants admit
that the City of Santa Paula is a municipal corporation organized and existing under
the laws of the State of California.

6. | Answering paragraph 6 of the first amended complaint, defendants admit
that the Santa Paula Police Department is an agency of the City of Santa Paula and
provides law enforcement services for the City of Santa Paula.

7. Answering paragraph 7 of the first amended complaint, defendants admit
that Ismael Cordero was the interim chief of police for the City of Santa Paula at the
time of the incident giving rise to this litigation.

8. | Answering paragraph 8 of the first amended complaint, defendants admit
the allegations of the paragraph.

9. Answering paragraph 9 of the first amended complaint, defendants admit

the allegations of the paragraph.
///

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

aS

oo

10
11
12

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 30f16 Page ID #:68

10. Answering paragraph 10 of the first amended complaint, defendants
deny the propriety of the use of fictitious name allegations in this action. Because
plaintiffs have not identified any person as Does | through 50, defendants have
insufficient information to admit or deny the allegations of the paragraph, and on that
basis defendants deny each and every allegation contained therein.

11. | Answering paragraph 11 of the first amended complaint, defendants
deny the allegations of the paragraph.

12. | Answering paragraph 12 of the first amended complaint, defendants
deny the allegations of the paragraph.

13. Answering paragraph 13 of the first amended complaint, defendants
admit that plaintiff Hilda Vasquez was required to comply with the administrative
claims requirement of California law for state law causes of action.

14. Answering paragraph 14 of the first amended complaint, defendants
admit that on July 28, 2012, at approximately 8:00 p.m., Santa Paula police officers
answered a residential disturbance call at 1117 New Street, Santa Paula, California
93060, and that Edgar Garcia fled into the backyard of the residence, where he was
shot and killed. Defendants admit on information and belief that Edgar Garcia was
involved in a confrontation. Defendants deny the remainder of the allegations.

15. Answering paragraph 15 of the first amended complaint, defendants
deny the allegations of the paragraph.

16. | Answering paragraph 16 of the first amended complaint, defendants
admit that Edgar Garcia fired a weapon at and struck Officer Peplinski, then fled into
the backyard of the residence, where he was shot. Defendants deny the remainder of
the allegations of the paragraph.

17. | Answering paragraph 17 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph, and

on that basis defendants deny each and every allegation contained therein.

///

 

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW

300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

10
11
12

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 4of16 Page ID #:69

18. | Answering paragraph 18 of the first amended complaint, defendants
deny the propriety of the use of fictitious name allegations in this action, and because
plaintiffs have not identified any person as Does 26 to 50, defendants have
insufficient information to admit or deny the allegations of the paragraph, and on that
basis defendants deny each and every allegations contained therein.

19. Answering paragraph 19 of the first amended complaint, defendants
deny the allegations of the paragraph.

20. Answering paragraph 20 of the first amended complaint, defendants
deny the allegations of the paragraph.

21. Answering paragraph 21 of the first amended complaint, defendants
deny the allegations of the paragraph.

22. Answering paragraph 22 of the first amended complaint, defendants
deny the propriety of the use of fictitious name allegations in this action, and because
plaintiffs have not identified any person as Does | to 25, defendants have insufficient
information to admit or deny the allegations of the paragraph, and on that basis
defendants deny each and every allegations contained therein.

23. | Answering paragraph 23 of the first amended complaint, defendants
deny the propriety of the use of fictitious name allegations in this action, and because
plaintiffs have not identified any person as Does | to 25, defendants have insufficient
information to admit or deny the allegations of the paragraph, and on that basis
defendants deny each and every allegations contained therein.

24. | Answering paragraph 24 of the first amended complaint, defendants
deny the allegations of the paragraph.

25. Answering paragraph 25 of the first amended complaint, defendants
admit that plaintiffs are seeking damages but deny their applicability to the case at
hand.

///
tif

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page5of16 Page ID #:70

26. Answering paragraph 26 of the first amended complaint, defendants
admit that plaintiffs are seeking damages but deny their applicability to the case at
hand.

27. Answering paragraph 27 of the first amended complaint, defendants
admit that plaintiffs are seeking damages but deny their applicability to the case at
hand.

28. Answering paragraph 28 of the first amended complaint, defendants
admit that plaintiffs are seeking damages but deny their applicability to the case at
hand.

29. Answering paragraph 29 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

30. Answering paragraph 30 of the first amended complaint, defendants
deny the allegations of the paragraph.

31. | Answering paragraph 31 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

32. Answering paragraph 32 of the first amended complaint, defendants
deny that decedent was deprived of medical care in violation of his rights under the
Due Process Clause of the Fourteenth Amendment.

33. | Answering paragraph 33 of the first amended complaint, defendants
deny the allegations of the paragraph.

34. Answering paragraph 34 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation

5

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW

300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036
TELEPHONE (805) 278-0920

Case 2I

10
11
12
13
14

16
17
18
19
20
21
22
23
24
25
26
27
28

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page6of16 Page ID#:71

set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

35. Answering paragraph 35 of the first amended complaint, defendants
deny the allegations of the paragraph.

36. | Answering paragraph 36 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to

the preceding allegations of the first amended complaint as though fully set forth

hereat.
37. | Answering paragraph 37 of the first amended complaint, defendants
deny the allegations of the paragraph.

38. | Answering paragraph 38 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

39. | Answering paragraph 39 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph and on
that basis deny the allegations.

40. | Answering paragraph 40 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph and on
that basis deny the allegations.

41. | Answering paragraph 41 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph and on
that basis deny the allegations.

42. Answering paragraph 42 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation

6

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW

300 ESPLANADE DRIVE, SUITE 1500

Case Z

TELEPHONE (805) 278-0920

OXNARD, CALIFORNIA 93036

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
2
26
27
28

 

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 7 of16 Page ID#:72

set forth in the preceding paragraphs, and defendants incorporate their responses to

the preceding allegations of the first amended complaint as though fully set forth

hereat.
43. | Answering paragraph 43 of the first amended complaint, defendants
deny the allegations of the paragraph.

44. Answering paragraph 44 of the first amended complaint, defendants
deny the allegations of the paragraph.

45. Answering paragraph 45 of the first amended complaint, defendants
deny the allegations of the paragraph.

46. Answering paragraph 46 of the first amended complaint, defendants
deny the allegations of the paragraph.

47. Answering paragraph 47 of the first amended complaint, defendants
deny the allegations of the paragraph.

48. | Answering paragraph 48 of the first amended complaint, defendants
deny the allegations of the paragraph.

49. Answering paragraph 49 of the first amended complaint, defendants
deny the allegations of the paragraph.

50. | Answering paragraph 50 of the first amended complaint, defendants
admit that the Fourth and Fourteenth amendments of the United States Constitution
guarantee the right not to be deprived of life, liberty, and property without due
process of law; the right to be free from unusual searches and seizures; the right to
equal protection of the law; and the right to familial relationships.

51. Answering paragraph 51 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth

hereat.
///

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

10
11
12
13
14
15
16
17
18
19
20
21
22

24
2
26
Pa
28

 

1 3-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 8 of 16 Page ID #:73

52. | Answering paragraph 52 of the first amended complaint, defendants
deny the allegations of the paragraph.

53. | Answering paragraph 53 of the first amended complaint, defendants
deny the allegations of the paragraph.

54. | Answering paragraph 54 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph and on
that basis deny the allegations.

55. | Answering paragraph 55 of the first amended complaint, defendants
admit that plaintiffs have brought this action under the cited statutes but deny their
applicability to this matter.

56. | Answering paragraph 56 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to

the preceding allegations of the first amended complaint as though fully set forth

hereat.
57. Answering paragraph 57 of the first amended complaint, defendants
deny the allegations of the paragraph.

58. | Answering paragraph 58 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

59. | Answering paragraph 59 of the first amended complaint, defendants
deny the allegations of the paragraph.

60. | Answering paragraph 60 of the first amended complaint, defendants
deny the allegations of the paragraph.

61. Answering paragraph 61 of the first amended complaint, defendants

deny the allegations of the paragraph.

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

OXNARD, CALIFORNIA 93036

Case 2

TELEPHONE (805) 278-0920

oO So SN NHN

10
11
12
I
14
5
16
17
18
19
20
21
22
23
24
25
26
27
28

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page9of16 Page ID#:74

62. Answering paragraph 62 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to
the preceding allegations of the first amended complaint as though fully set forth
hereat.

63. | Answering paragraph 63 of the first amended complaint, defendants
deny the allegations of the paragraph.

64. Answering paragraph 64 of the first amended complaint, defendants
deny the allegations of the paragraph.

65. Answering paragraph 65 of the first amended complaint, defendants
have insufficient information to admit or deny the allegations of the paragraph and on
that basis deny the allegations.

66. Answering paragraph 66 of the first amended complaint, defendants
admit that plaintiffs reallege and incorporate by reference each and every allegation
set forth in the preceding paragraphs, and defendants incorporate their responses to

the preceding allegations of the first amended complaint as though fully set forth

hereat.
67. | Answering paragraph 67 of the first amended complaint, defendants
deny the allegations of the paragraph.

AFFIRMATIVE DEFENSES

iL As and for a first separate and distinct affirmative defense, each and
every cause of action asserted against these defendants fails to state a claim upon
which relief can be granted.

2. As and for a second separate and distinct affirmative defense, as there is
no underlying constitutional violation, defendants cannot be liable, under City of Los
Angeles v. Heller, 475 U.S. 796 (1986), for any federal claim.

3. As and for a third separate and distinct affirmative defense, the

individual officers are entitled to the benefit and protection of the qualified immunity.

9

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2:1l3-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 10 0f 16 Page ID #:75

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

4, As and for a fourth separate and distinct affirmative defense, the
defendants or any policymaking individual did not deliberately indifferently adopt,
ratify, or enforce any custom, practice, or policy which deprived the plaintiffs of any
federally protected constitutional rights.

5. As and for a fifth separate and distinct affirmative defense, the actions of
the individual officers were not in conscious disregard of the rights of the decedent or
deliberately indifferent to the constitutional rights of the decedent.

6. As and for a sixth separate and distinct affirmative defense, punitive
damages against a public entity are not recoverable pursuant to the rationale and
holding of City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981).

Ds As and for a seventh separate and distinct affirmative defense,
defendants allege that no policymaking individual with any entity defendant in this
case consciously decided to adopt, promulgate, or ratify any deliberately indifferent
custom, practice, or policy which actually led to the deprivation of any of plaintiffs’
federally protected civil rights.

8. As and for an eighth separate and distinct affirmative defense,
defendants allege that no constitutional violation was committed, so any entity
defendant is not chargeable with a viable federal civil rights cause of action. Scott v.
Henrich, 39 F.3d 912, 916 (9th Cir. 1994); Palmerin v. City of Riverside, 794 F.2d
1409, 1410-1415 (9th Cir. 1986); Scott v. Clay County, 205 F.3d 867, 879 (6th Cir.
2000).

9. As and for a ninth separate and distinct affirmative defense, the action
and each and every cause thereof would be barred by the plaintiffs’ lack of standing
to assert the violation of the decedent’s Fourth and Fourteenth Amendment rights if it
is shown that the plaintiffs are not suing in a representative capacity as successors in
interest to the decedent or as a personal representative of his estate, lacking
successorship interest and absence of fulfillment of state-law requirements of
decedent estate administration.

10

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2:

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 11o0f16 Page ID #:76

10. As and for a tenth separate and distinct affirmative defense, the state-law
causes of action, including the wrongful death claim, are barred as against the entity
defendants because the officers cannot be liable so there is no basis for respondeat
superior liability against the entity defendants in accordance with Government Code
Section 815.2, which provides that the public entity is not liable for the acts of an
employee if the employee is immune from liability, as well as Thomas v. City of
Richmond, 9 Cal.4th 1154, 1157-1158 (1995), Collins v. City and County of San
Francisco, 50 Cal.App.3d 671, 673 (1975) and Perez v. City of Huntington Park,
7 Cal.App.4th 817, 819-820 (1992).

11. As and for an eleventh separate and distinct affirmative defense, the
state-law causes of action are barred by California Government Code Section 820.2,
which precludes liability where the act or omission was the result of the exercise of
discretion vested in a government official, whether or not such discretion was abused.

12. As and for a twelfth separate and distinct affirmative defense, the state-
law causes of action are precluded by the provisions of California Government Code
Section 820.4, which provides that a public employee is not liable for his act or
omission while exercising due care in the execution or enforcement of any law.

13. As and for a thirteenth separate and distinct affirmative defense, the
state-law causes of action are precluded by or diminished in proportion to the
plaintiffs’ decedent’s comparative fault or contributory negligence.

14. As and for a fourteenth separate and distinct affirmative defense,
defendants allege that the action is barred by the fact that the defendant’s officers did
not deliberately and intentionally violate the plaintiffs’ rights, were not deliberately
indifferent, nor did they possess the requisite mens rea or level of fault to be
chargeable with a federal civil rights violation.

I5. As and for a fifteenth separate and distinct affirmative defense,
defendants are immune as to the state-law claims pursuant to California Government
Code Section 820.8.

11

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

L3-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 120f16 Page ID#:77

16. As and for a sixteenth separate and distinct affirmative defense,
defendants allege that the decedent acted with full knowledge of all the facts and
circumstances surrounding his alleged injuries and assumed the risk of the matters
causing the alleged injuries, and the matters of which decedent assumed the risk
proximately contributed to and proximately caused the alleged injuries, if any there
were.

17. As and for a seventeenth separate and distinct affirmative defense,
defendants allege that plaintiffs had a duty to mitigate their damages and failed to do
so and thereby are barred from recovery of damages flowing from the failure to
mitigate.

18. As and for an eighteenth separate and distinct affirmative defense,
defendants are immune as to the state-law claims pursuant to California Government
Code Section 820.6.

19. As and for a nineteenth separate and distinct affirmative defense,
defendants allege that at all times herein mentioned, defendant’s officers were
performing their duties pursuant to the discretion vested in them; that if plaintiffs
were damaged as a result of the exercise of discretion vested in said employees,
plaintiffs’ cause of action is barred.

20. As and for a twentieth separate and distinct affirmative defense,
defendants deny that plaintiffs are entitled to attorney’s fees in this matter.

21. As and for a twenty-first separate and distinct affirmative defense,
defendants are immune from liability because all acts were performed in self-defense
and/or in the defense of others, and the use of force was reasonable under the totality
of the circumstances.

22. As and for a twenty-second separate and distinct affirmative defense,
defendants allege that the injuries or damages, if any, sustained by the plaintiffs were
proximately caused by the negligent or unlawful acts or omissions of persons other
than these defendants, and the liability of each defendant and responsible party,

12

 

 

 
300 ESPLANADE DRIVE, SUITE 1500

WISOTSKY, PROCTER & SHYER
ATTORNEYS AT LAW

Case 2:

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

OU ff Ge

Oo Oo SDH

10
11

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

!

 

 

3-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 13 0f16 Page ID#:78

named or unnamed, should be apportioned according to their relative degrees of fault,
and the liability of these answering defendants, if any, should be reduced accordingly.

23. As and for a twenty-third separate and distinct affirmative defense,
plaintiffs have failed to comply with the claims presentation and/or filing require-
ments of California Government Code Section 900, et seq.

24. As and for a twenty-fourth separate and distinct affirmative defense,
defendants are immune from liability pursuant to the provisions of California Penal
Code Section 148.

25. As and for a twenty-fifth separate and distinct affirmative defense,
defendants are immune from liability pursuant to the provisions of California Penal
Code Section 834a.

26. As and for a twenty-sixth separate and distinct affirmative defense,
defendants are immune from liability pursuant to the provisions of California Penal
Code Section 835a.

27. As and for a twenty-seventh separate and distinct affirmative defense,
defendants allege that they are immune from liability because all acts were performed
in good faith and without malice.

28. As and for a twenty-eighth separate and distinct affirmative defense,
defendants allege that any action taken on behalf of the defendants against the
decedent was with reasonable cause to believe that the decedent had committed, may
commit, was committing, or was about to commit a felony or misdemeanor.

29. As and for a twenty-ninth separate and distinct affirmative defense,
defendants allege that the force employed, if any, at the time and place mentioned in
the first amended complaint was not excessive or unreasonable under the
circumstances.

30. As and for a thirtieth separate and distinct affirmative defense,
defendants allege that they are immune from liability because probable cause existed
///

13

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2)

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

oo NIN DW

=o Oo

1]
12
13
14
15
16
LF
18
19
20
21
22
23
24
25
26
27
28

L3-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 140f16 Page ID #:79

 

 

which permitted all acts taken regarding the facts alleged in plaintiffs’ first amended
complaint.

31. As and for a thirty-first separate and distinct affirmative defense,
defendants allege that they are immune from liability because the actions of the
defendants and their employees and/or agents were objectively reasonable.

32. As and for a thirty-second separate and distinct affirmative defense,
defendants allege that at all times herein mentioned, defendants were performing their
duties pursuant to the discretion vested in them; that if plaintiffs and/or decedent were
damaged as a result of the exercise of discretion vested in said defendants or their
employees or agents, plaintiffs’ cause of action is barred.

33. As and for a thirty-third separate and distinct affirmative defense,
defendants allege that plaintiffs’ claims and causes of action under the first amended
complaint are barred by reason of the statute of limitations and the doctrine of laches
in that the pleadings were not filed within the proper or reasonable time with respect
to the alleged damages.

34. As and for a thirty-fourth separate and distinct affirmative defense,
defendants, their employees, and agents are immune from liability because they had a
reasonable belief in the lawfulness of their conduct and showed good faith.

35. As and for a thirty-fifth separate and distinct affirmative defense,
plaintiffs are barred from any exemplary or punitive damages inasmuch as any act or
conduct as may be shown on the part of these answering defendants resulted from
provocative acts, conduct, and words on the part of decedent, and punitive damages
are inappropriate under the statutes, case law, and Constitutions of California and the
United States.

36. As and for a thirty-sixth separate and distinct affirmative defense,
defendants allege that as to the supplemental causes of action purporting to state a
claim pursuant to state law, a variety of state statutes protect and privilege the
individual officer’s decision to deploy potentially lethal force, including California

14

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2:1]

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

B-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 15o0f16 Page ID #:80

Penal Code Section 196-2 and Penal Code Section 197-1. Because the officer’s use
of such force was justified by these statutes, the entity defendant is vicariously
exonerated as well in accordance with California Government Code Section 815.2(b).

37. As and for a thirty-seventh separate and distinct affirmative defense, the
state-law causes of action are precluded by the fact that the homicide was justifiable
in accordance with California Penal Code Section 196 in that a police officer who
kills someone has committed a justifiable homicide if the homicide was necessarily
committed in overcoming actual resistance to the execution of some legal process or
in the discharge of any other legal duty, and there can be no civil liability under
California law as the result of a justifiable homicide in accordance with Gilmore v.
Superior Court, 230 Cal.App.3d 416, 420-423 (1991).

PRAYER

WHEREFORE, these answering defendants, having fully answered plaintiffs’
first amended complaint, pray for judgment in favor of defendants, for costs of suit
incurred herein, for attorney’s fees pursuant to 42 U.S.C. §1988, and for such other

and further relief as the Court deems just and proper.

DATED: December x2, 2013 WISOTSKY, PROCTER & SHYER

B i. a
Dirk DeGenna
Attorneys for Defendants,
CITY OF SANTA PAULA, SANTA
PAULA POLICE DEPARTMENT, ISMAEL
CORDERO, HECTOR RAMIREZ and
CHAD PEPLINKSI

 

15

 

 

 
WISOTSKY, PROCTER & SHYER

ATTORNEYS AT LAW
300 ESPLANADE DRIVE, SUITE 1500

Case 2:

OXNARD, CALIFORNIA 93036

TELEPHONE (805) 278-0920

oo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

27
28

1

 

13-cv-07726-CBM-AJW Document 15 Filed 12/20/13 Page 16 o0f16 Page ID #:81

DEMAND FOR TRIAL BY JURY
Defendants CITY OF SANTA PAULA, SANTA PAULA POLICE
DEPARTMENT, INTERIM CHIEF ISMAEL CORDERO, OFFICER HECTOR
RAMIREZ, and OFFICER CHAD PEPLINKSI hereby demand a trial by jury.

DATED: December 22, 2013 WISOTSKY, PROCTER & SHYER

By: —
Dirk DeGenn4a
Attorneys for Defendants,
CITY OF SANTA PAULA, SANTA
PAULA POLICE DEPARTMENT, ISMAEL
CORDERO, HECTOR RAMIREZ and
CHAD PEPLINKSI

16

 

 

 
